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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION


UNITED STATES OF AMERICA,               )
                                        )
              vs.                       )   CAUSE NO. 2:02-CR-34 (3) RM
                                        )
PAISIT BENCHARIT                        )


                                    ORDER
      No objections have been filed to Magistrate Judge Nuechterlein’s findings

and recommendations upon a plea of guilty issued on August 22, 2007 [Doc. No.

40]. Accordingly, the court now ADOPTS those findings and recommendations,

ACCEPTS defendant Paisit Bencharit’s plea of guilty, and FINDS the defendant

guilty of Count 3 of the Indictment, in violation of 21 U.S.C. § 841(a)(1) and 18

U.S.C. § 2.

      SO ORDERED.

      ENTERED:      October 31, 2007




                                            /s/ Robert L. Miller, Jr.
                                     Chief Judge
                                     United States District Court
